                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                          DOCKET NO. 1:16-cr-00039-MOC-DLH

 UNITED STATES OF AMERICA,                                )
                                                          )
                                                          )
                                                          )
 Vs.                                                      )                 ORDER
                                                          )
 DANNY TERRON RONEY,                                      )
                                                          )
                       Defendant.                         )


       THIS MATTER is before the court on defendant’s pro se “Motion Under F.R.CIV.P. 18

USCS § 4241(h).” Review of the pleadings reveals that defendant is being well represented by

experienced counsel; thus, defendant’s filing of a pro se motion is inappropriate as provided in

Local Criminal Rule 47.1(g). Defendant should discuss with his excellent attorney any concerns

he has as to his present custodial status. He is also cautioned not to make pro se filings with the

Court as they may contain admissions or statements that could later be used against him by the

government. Having considered defendant’s pro se motion and reviewed the pleadings, the court

enters the following Order.

                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s pro se “Motion Under F.R.CIV.P. 18

USCS § 4241(h)” (#251) is DENIED without prejudice.




 Signed: December 14, 2017




                                                1

   Case 1:16-cr-00039-MOC-WCM              Document 253        Filed 12/14/17     Page 1 of 1
